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  11 MYMEDICALRECORDS, INC.
  12                        UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14
  15 MYMEDICALRECORDS, INC.,                       Case No. 2:13-cv-00631-ODW(SHx)
                                                   (Related to 13-cv-02538-ODW-SH; 13-
  16               Plaintiff,                      cv-03560-ODW-SH; and 13-cv-07285-
                                                   ODW-SH)
  17        vs.
                                                   NOTICE OF MOTION AND
  18 WALGREEN CO.,                                 MOTION TO LIMIT PRIOR ART
                                                   REFERENCES
  19               Defendant.
                                                   Date: June 23, 2014
  20                                               Time: 1:30 P.M.
     ALL REMAINING COORDINATED
  21 CASES                                         The Hon. Otis D. Wright, II
  22                                               Trial Date:         TBD
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                                                                Case No. 2:13-cv-00631-ODW(SHx)
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   1        TO THE COURT AND ALL PARTIES AND COUNSEL OF RECORD:

   2        PLEASE TAKE NOTICE that on June 23, 2014, at 1:30 p.m. or as soon

   3 thereafter as they may be heard by the Honorable Otis D. Wright, in Courtroom 11
   4 of this Court, Plaintiff, MyMedicalRecords, Inc. (“MMR” or “Plaintiff”) will and
   5 hereby does move this Court to Limit Prior Art References.
   6        This motion is made following conferences of counsel pursuant to L.R. 7-3
   7 which took place on April 29 and May 8, 2014.
   8
   9 Dated: May 20, 2014                   Respectfully submitted,
  10
                                           LINER LLP
  11
  12
  13                                       By:         /s/ Ryan E. Hatch
                                                 Randall J. Sunshine
  14
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  15                                             Attorneys for MYMEDICALRECORDS,
                                                 INC.
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   1 I.      INTRODUCTION
   2         Plaintiff MyMedicalRecords, Inc. (“MMR”) has limited its infringement
   3 allegations from the outset of this action to only two independent claims and six
   4 dependent claims, from the 43 total claims in the asserted patents. Despite that
   5 MMR has already significantly limited its infringement allegations, defendants
   6 Quest Diagnostics Incorporated, Jardogs, LLC, Allscripts Healthcare Solutions, Inc.,
   7 and WebMD Health Corp. et al. (collectively, “Defendants”) assert an excessive
   8 number of prior art references – totaling 34 references asserted against two
   9 independent claims.
  10         Defendants’ assertions of prior art are highly duplicative and cumulative.
  11 They assert 27 different prior art references against a single independent claim.
  12 They add an additional seven references against the other asserted independent
  13 claim, totaling 34 prior art references against only two independent claims. This is
  14 far in excess of the limits typically imposed by Courts, and is a textbook example of
  15 the lack of discipline that makes patent litigation expensive and unmanageable.
  16 Such tactic improperly functions to “hide the ball” on what references Defendants
  17 genuinely intend to rely on for expert reports or at trial, resulting in an asymmetric
  18 burden on MMR, which must waste effort analyzing many superfluous prior art
  19 references that would not be litigated at trial.
  20         The number of prior art references versus the number of asserted claims is
  21 entirely unbalanced. Given that MMR has already significantly limited the asserted
  22 claims from the outset of this litigation, Defendants should also limit the number of
  23 asserted prior art references to twelve references before Markman, and six
  24 references after Markman. These limits are reasonable in view of existing authority.
  25 In this way, both sides share the responsibility of ensuring case manageability, while
  26 at the same time reducing prejudice to the other side, as well as burden on the Court,
  27 the parties, and ultimately the jury.
  28

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   1 II.       STATEMENT OF FACTS
   2           Plaintiff MyMedicalRecords, Inc. (“MMR”) has limited its infringement
   3 allegations from the outset of this action to only one independent claim per patent –
   4 claim 8 of the ‘466 Patent and claim 1 of the ‘883 Patent. (See First Amended
   5 Complaint in MyMedicalRecords, Inc. v. Quest Diagnostics Inc.(“Quest”), Case No.
   6 13-cv-02538-ODW-(SHx), Dkt. 23; Complaint for Patent Infringement in
   7 MyMedicalRecords, Inc. v. WebMD Health Corp., et al.(“WebMD”), Case No. 13-
   8 cv-07285-ODW-(SHx), Dkt 1; and Second Amended Complaint in
   9 MyMedicalRecords, Inc. v. Jardogs LLC, et al (“Jardogs”) Case No. 13-cv-03560-
  10 ODW-(SHx), Dkt 55.) MMR also asserts only six dependent claims out of the two
  11 patents, for a total of eight claims from the 43 total claims in the asserted patents.1
  12           Despite that MMR’s efforts to make this case manageable for the Court and
  13 the parties, Defendants have done the opposite in their 727-page disclosure of
  14 invalidity contentions. (See Defendants’ Invalidity Contentions Pursuant to Patent
  15 L.R. 3-3 and 3-4 (“Invalidity Contentions”), attached hereto in the Declaration of
  16 Ryan Hatch in Support of Motion to Limit Prior Art References (“Hatch Decl.”) at
  17 Ex. C.) Defendants assert that the two asserted independent claims are anticipated
  18 by 34 different prior art references. (Id. at 11-13.) In particular, Defendants assert
  19 27 prior art references against claim 8 of the ‘466 Patent, and 7 additional prior art
  20 references against claim 1 of the ‘883 patent. (See Invalidity Contentions at 11-13;
  21 Exhibits A and B.) While MMR attempted to resolve this issue without burdening
  22 the Court, Defendants have refused to limit this excessive number of prior art
  23 references. (Hatch Decl., ¶ 2.)
  24 III.      LEGAL STANDARD
  25           A.     Courts routinely limit excess prior art before and after Markman
  26           Courts have broad discretion in administering their cases, including the
  27
       1
  28       MMR asserts claims 9-12 of the ‘466 Patent and claims 2 and 3 of the ‘883 Patent.

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   1 authority to order limits on the number of asserted patent claims and prior art. See
   2 In re Katz Interactive Call Processing Litigation, 639 F.3d 1303 (Fed. Cir. 2011)
   3 (district courts have “broad discretion” to limit duplicative claims). In In re Katz,
   4 the Federal Circuit upheld the District Court’s requirement that plaintiff limit the
   5 number of asserted claims both before and after discovery. 639 F.3d 1308 (Fed. Cir.
   6 2011).
   7         Following in In re Katz, District Courts have routinely ordered parties to limit
   8 the number of asserted claims and prior art to better manage the patent cases. See,
   9 e.g., Finjan, Inc. v. Websense, Inc., No. 13-cv-04398, (N.D. Cal., Apr. 23, 2014)
  10 (attached hereto as Hatch Decl., Ex. A) (limiting to six prior art references per
  11 patent before Markman and four references per patent after Markman); Thought,
  12 Inc. v. Oracle Corp., 2013 U.S. Dist. LEXIS 147561 (N.D. Cal. Oct. 10, 2013)
  13 (limiting to an average of approximately seven prior art references per patent before
  14 Markman and fewer than four references per patent after Markman); Fujifilm Corp.
  15 v. Motorola Mobility LLC, 2014 U.S. Dist. LEXIS 15006 (N.D. Cal. Feb. 5, 2014)
  16 (limiting to six prior art references per patent and 20 references total after
  17 Markman); Fujifilm Corp. v. Motorola Mobility LLC, 2014 U.S. Dist. LEXIS
  18 15006, *6 (N.D. Cal. Feb. 5, 2014) (limiting prior art references to six per patent
  19 after Markman); Masimo Corp. v. Philips Electronics, 918 F.Supp. 2d 277 (D. Del.
  20 2013) (limiting to 40 prior art references for nine asserted patents before Markman,
  21 or an average of about four references per patent); Keranos, LLC v. Silicon Storage
  22 Tech., Inc., 2013 U.S. Dist. LEXIS 145194 (E.D. Tex. Aug. 2, 2013) (limiting prior
  23 art references to “two or three per claim,” and noting that the Court “routinely limits
  24 Defendants to two or three prior art references”); Global Sessions LP v.
  25 Travelocity.com LP, 2012 U.S. Dist. LEXIS 189465 (E.D. Tex. Dec. 4, 2012)
  26 (limiting prior art to three references per claim).
  27         For example, in Finjan v. Websense (N.D. Cal., 2014), the District Court
  28 appointed a Special Master to determine whether the number of claims or the prior

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   1 art asserted should be limited. Citing the Federal Circuit’s opinion in In re Katz, the
   2 Special Master entered a stipulation that the plaintiff limit the number of asserted
   3 claims “to promote efficiency for the Parties and Court,” and that the defendant also
   4 limit “the number of prior art references Defendant may assert to support invalidity
   5 defenses pursuant to 35 U.S.C. §§ 102 and 103 to promote efficiency for the Parties
   6 and Court.” Finjan, No. 13-cv-049398 (N.D. Cal.), see Hatch Decl., Ex. A at 2-3.
   7 The defendants agreed to select no more than six anticipatory references and no
   8 more than four obviousness combinations per patent-in-suit, before Markman, and
   9 to limit the prior art to no more than four anticipatory references and two
  10 obviousness combinations per patent-in-suit after Markman. Id. at 3. The plaintiff
  11 agreed to limit its asserted patent claims to no more than 25 claims total across all
  12 patents before Markman, and four claims per patent (or 20 total) after Markman. Id.
  13         Similarly, in Thought v. Oracle, 2013 U.S. Dist. LEXIS 147561 at *9 (N.D.
  14 Cal., 2013), the court imposed limits on the number of asserted claims and prior art,
  15 both before and after Markman. The court limited the defendant to a maximum of
  16 50 prior art references before Markman and 25 prior art references after Markman,
  17 where the plaintiff asserted seven patents and 32 claims. Id. at *9. This amounts to
  18 an average of approximately 1.5 prior art references per claim before Markman, and
  19 fewer than four prior art references per patent after Markman.
  20         B.    The Federal Circuit Advisory Council’s Model Order provides for
  21               limiting excess prior art before and after Markman
  22         In 2013, the Federal Circuit Advisory Council released a Model Order
  23 Limiting Excess Claims and Prior Art (the “Model Order”), for use by District
  24 Courts. (See Model Order, attached hereto as Hatch Decl., Ex. B.) The Model
  25 Order provides guidelines for limiting asserted claims and prior art.2 The Model
  26
  27   2
      The Model Order was removed from the Federal Circuit website on July 26, 2013
  28 with a notice that the Court “has not sponsored or endorsed the orders,” and that

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   1 Order refers to a “consensus that the numbers of asserted claims, claim terms, and
   2 prior art references in patent cases are often problematically excessive.” Id. at 1. It
   3 highlights the problem of “superfluous claims and prior art,” which can function to
   4 “hide the ball” and result in an “asymmetric burden on the responding party (and the
   5 trial court) because the asserting party often has a better sense of which issues it will
   6 ultimately pursue.” Id. The committee found that these excess issues inflate
   7 litigation costs and unnecessarily burden the judiciary. Id. at 2. Focusing patent
   8 cases on the core issues will “reduce the burden on the courts” and “improve the
   9 quality of the adjudicatory process for all.” Id. The Model Order notes that
  10 “[m]any courts have issued orders limiting the number of claims and prior art
  11 references in patent cases on an ad hoc basis,” and that it is “surprising that many
  12 courts do not issue such orders more routinely.” Id.
  13         While the Model Order provides that defendants limit prior art to twelve
  14 references per patent before Markman and six references per patent after Markman,
  15 it particularly notes that “limits lower than those set forth” by default may be
  16 appropriate based on factors including the “commonality among asserted patents”
  17 and “the complexity of the patent claims.” Id. at fn 1.
  18 IV.     ARGUMENT
  19         Among the 34 prior art references asserted against two independent claims
  20 (and 6 dependent claims), most of them are duplicative and cumulative. Such a high
  21 number of prior art references in a case involving merely two asserted patents (with
  22
       “the advisory council should not be viewed as having sponsored or endorsed these
  23   orders on behalf of the court.” See
  24   http://www.cafc.uscourts.gov/images/model_orders.pdf. Nonetheless, the Model
       Order is persuasive and has been cited as authority in opinions limiting prior art.
  25   See, e.g., Keranos, 2013 U.S. Dist. LEXIS 145194 at 16-17 (E.D. Tex. 2013)
  26   (noting that the Court “routinely limits Defendants to two or three prior art
       references,” and that the “model order requires the parties to pare down the number
  27   of asserted claims and prior art references in two stages: prior to claim construction
  28   and again after claim construction”).

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    1 eight asserted claims) clearly exceeds reasonable limits typically imposed by courts.
    2 By doing so, Defendants attempted to “hide the ball” on what references they intend
    3 to rely on for expert reports or at trial, a practice strongly disapproved by not only
    4 the Federal Circuit Advisory Council, but also many District Courts.
    5         Accordingly, in light of the low number of patents and claims asserted in this
    6 case, Defendants should limit the number of asserted prior art references to twelve
    7 references before Markman, and six references after Markman. In this way, both
    8 sides share the responsibility of ensuring case manageability, while at the same time
    9 reducing prejudice to the other side, and the burden on the Court, the parties, and
   10 ultimately the jury.
   11         A.    MMR has limited the asserted claims to only two independent
   12               claims and six dependent claims
   13         From the outset of this case, MMR has limited its infringement allegations to
   14 only eight claims, from among 43 total claims in the two patents-in-suit. MMR
   15 asserts only five claims from the ‘466 Patent, and three claims from the ‘883 Patent.
   16         MMR already asserts fewer claims than the maximums permitted under the
   17 Model Order and other cases where defendants were ordered to limit their claims
   18 and prior art references. For example, the Model Order limits the plaintiff to 10
   19 claims per patent, or 32 total claims, before Markman. In Finjan and Thought, the
   20 court limited the plaintiff to 25 claims total or five claims per patent, or 32 claims
   21 total, before Markman, respectively. These exemplary limits are shown in the table
   22 below.
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    1 Table 1: Exemplary limits on asserted claims and prior art.
    2
                      Number           Limit on Asserted              Limit on Prior Art
    3                 of                    Claims
           Case       Asserted
    4                 Patents       Before         After          Before         After
                                    Markman        Markman        Markman        Markman
    5
        Model         2 or more     10 / patent,   5 / patent,    12 / patent,   6 / patent,
    6   Order
                                    32 max         16 max         40 max         20 max
    7
        Finjan v.     4             5 / patent,    4 / patent,    6 references 4 references
    8   Websense
                                    25 max         20 max
    9
        Thought v.    7             32 total       5 / patent,    18 / patent,   9 / patent,
   10   Oracle
                                                   16 max         50 max         25 max
   11
        MMR           2             5 / patent,    5 / patent,    Currently      Currently
   12   cases                                                     Unlimited      Unlimited
                                    8 max          8 max
   13                                                             (34            (34
                                                                  asserted)      asserted)
   14
   15         Despite that MMR has already voluntarily limited its case to only eight claims
   16 total, with a maximum of five claims per patent, Defendants have steadfastly refused
   17 to limit their prior art references at all, and continue to assert 34 references.
   18 (Invalidity Contentions at 11-13; Hatch Decl., ¶ 5.)
   19        B.    Defendants’ assertion of prior art references is highly duplicative
   20         A primary concern in considering whether limiting a party’s claims promotes
   21 fairness and efficiency is the level of duplication in the claims. In re Katz, 639 F.3d
   22 at 1312 (Fed. Cir. 2011) (upholding the District Court’s due process analysis, which
   23 was based on the “initial determination that the asserted patents contained many
   24 duplicative claims.”) When a plaintiff asserts patents having many duplicative
   25 claims, it is fair to require limiting the asserted claims, to streamline the case and
   26 make it more efficient for the parties and the court. Id. A similar principle applies to
   27 require defendants to limit the assertion many duplicative prior art references, as
   28 asserting superfluous prior art can function to “hide the ball” and inflate litigation

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    1 costs, since “each unnecessary claim and prior art reference must be analyzed and
    2 charted, among a myriad of other unnecessary case management tasks that follow.” 3
    3 (Model Order at 1-2.)
    4         Here, the Defendants’ Invalidity Contentions are highly duplicative.
    5 Defendants assert 27 different, but similar prior art references against a single claim
    6 - independent claim 8 of the ‘466 Patent – to argue that each and any of these 27
    7 prior art may anticipate this claim under 35 U.S.C. § 102. (Invalidity Contentions at
    8 11-13.) Indeed, assertion of 27 anticipation references against a single claim is a
    9 textbook example of the “[l]ack of discipline by the asserting party in preparing its
   10 case” that makes patent litigation expensive and unmanageable, not to mention that
   11 it functions to “hide the ball” on what references Defendants truly intend to rely on
   12 for expert reports and at trial. (Model Order at 1-2.) Thus, Courts routinely limit
   13 defendants to 4 or 5 referenced per patent, since this is more than sufficient to allege
   14 anticipation and even obviousness. (See Table 1, supra).
   15         Defendants also assert 7 additional prior art references to argue that the other
   16 independent claim – claim 1 of the ‘883 Patent – is anticipated. (Id. at 13.)
   17 Defendants’ assertion of 34 references combined against only 2 independent claims
   18 is highly duplicative, and should be limited. 4
   19
        3
   20     In an analogous situation, the U.S. Patent and Trademark Office (“PTO”) prohibits
        making redundant invalidity arguments in covered business method patent review,
   21   where a petitioner asserts “myriad references [that] provide essentially the same
   22   teaching to meet the same claim limitation.” Liberty Mutual Insurance Co. v.
        Progressive Casualty Insurance, Case CBM-2012-00003 (JL) (2012). The PTO has
   23   prohibited this practice, ruling that “multiple grounds, which are presented in a
   24   redundant manner by a petitioner who makes no meaningful distinction between
        them, are contrary to the regulatory and statutory mandates, and therefore are not all
   25   entitled to consideration.” Id.
        4
   26     Defendants assert the same prior art references against the dependent claims as
        they already assert against the independent claims. (Id. at 11-13.) Thus, under
   27   Defendants’ own arguments, the six dependent claims do not require any additional
   28   prior art references beyond what is required for the two independent claims.

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    1          C.    Defendants should be limited to twelve prior art references before
    2                Markman and six references after Markman
    3          Defendants should be limited to a reasonable number of prior art references,
    4 correlated to the number of asserted patents and claims. In Thought, the Court
    5 limited defendants to 50 prior art references before Markman where seven patents
    6 and 32 claims are at issue, which averages to approximately 1.5 references per
    7 asserted claim. (See supra) In Finjan, the defendant was limited to six references
    8 where four patents and 25 claims were at issue, which averages to 1.5 references per
    9 patent and less than one reference per claim. Id. Applying the same reasoning to the
   10 instant case, where only two independent claims and six dependent claims in two
   11 patents are asserted, it is reasonable to limit prior art before Markman to between
   12 three and 12 references total. A limit of 12 references is at the upper limit of this
   13 range.
   14          In addition to the case law, the Model Order provides useful guidelines for
   15 District Courts to use in establishing limits on prior art. It contemplates a default
   16 limit of twelve prior art references per patent at this stage of the litigation, which is
   17 prior to claim construction, but provides for limits lower based on case-specific
   18 factors, such as the commonality among asserted patents and the complexity of the
   19 patent claims. (Id. at fn 1)Here, Defendants assert many of the same prior art
   20 references against the asserted claims. For example, Defendants assert 17 common
   21 prior art references for the first element of the two asserted independent claims
   22 alone. (See Invalidity Contentions at 698-99, 714-15.) Not surprisingly, Defendants
   23 also assert many common prior art references against the other similar claim
   24 elements. (Id. at 699-711, 715-727.) This commonality weighs in favor of lowering
   25 the default limit. The complexity of the claims also weighs in favor of lowering the
   26 default limit. Defendants contend that the asserted claims “do not contain
   27 significantly more than the underlying … concept” of allowing individuals to access
   28 and manage their medical records and drug prescriptions in a secure and private

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    1 manner. (See Invalidity Contentions at 32-33.) While MMR disputes this
    2 characterization, inventions that are relatively less complex (as Defendants argue)
    3 should require fewer prior art references to analyze.
    4         Consideration of these factors, and the other factors listed in the Model Order,
    5 warrants a lower limit of twelve references for both patents, prior to Markman. 5
    6 Moreover, Defendants are not prejudiced by limiting their prior art references before
    7 Markman, because the Patent Local Rules provide for amendment of invalidity
    8 contentions after “claim construction by the Court different from that proposed by
    9 the party seeking amendment.” (See PLR 3-6(a).)
   10         Following Markman, references are generally further limited by one third to
   11 one half. (See supra, Table 1) Here, a reduction in prior art after Markman to six
   12 references for the two asserted patents is fair and reasonable. This limit is at or
   13 above the post-Markman limits set forth in the Model Order (six references), Finjan
   14 (four references), and Thought (nine references for seven patents, or less than two
   15 references per patent). See Id. These proposed limits actually exceed what is
   16 typically imposed.
   17
   18   5
          The other factors mentioned in the Model Order, fn 1 also support limiting the
   19   prior art to 12 and 6 references pre- and post-Markman, respectively. With regard to
   20   “the number and diversity of accused products,” the fact that Defendants
        collectively served joint invalidity contentions shows that they view the products to
   21   be similar enough for purposes of prior art analysis, and that separate prior art
   22   references and analysis for different accused product are not necessary. With regard
        to “the complexity and number of other issues in the case that will be presented to
   23   the judge and/or jury,” Defendants collectively assert a total of 29 affirmative
   24   defenses that will presumably be presented to the judge or jury, which may add to
        the complexity and number of other issues in the case. (See Defendant’s Answer to
   25   First Amended Complaint in Quest, Dkt 25; Defendants’ Answer to Complaint in
   26   WebMD, Dkt 9; Defendant Empty Jar LLC (f/k/a/ Jardogs LLC)’s Answer to the
        Second Amended Complaint in Jardogs, Dkt 60; and Defendant Allscripts
   27   Healthcare Solutions, Inc.’s Answer to the Second Amended Complaint in Jardogs,
   28   Dkt 68.)

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    1         D.    MMR is prejudiced by the assertion of duplicative prior art
    2         MMR is prejudiced by Defendants’ refusal to limit their excessive and
    3 duplicative prior art references. As noted above, Defendants’ assertion of an
    4 excessive number of duplicative references serves to “hide the ball” on the prior art
    5 references Defendants intend to ultimately pursue. It results in an asymmetric
    6 burden on MMR (and the Court), which must waste effort analyzing many
    7 superfluous references. (See Model Order at 1-2.) Limiting the prior art at this stage
    8 is proper, will “reduce the burden on the courts and lower the expense for the
    9 parties,” and “focus on the true issues [to] improve the quality of the adjudicatory
   10 process for all.” Id. at 2.
   11         It cannot be understated — the number of prior art references versus the
   12 number of asserted claims is entirely unbalanced. Both parties are responsible for
   13 focusing the litigation and rendering it manageable for claim construction, and
   14 ultimately for expert discovery and trial. MMR has already streamlined its case to
   15 eight claims, most of which are dependent claims that only add a few elements,
   16 which Defendants contend are met by prior art that is already asserted against the
   17 two independent claims. Narrowing the number of prior art references is just as
   18 important as narrowing the number of asserted claims to achieve manageability in
   19 the litigation and reduce unnecessary burden on the parties and the Court. Just as
   20 every asserted patent claim requires study, analysis and charting by the attorneys
   21 and experts and potentially leads to additional discovery and case management
   22 issues, every asserted prior art reference requires the same type of time and energy
   23 commitments, if not more. For instance, each prior art reference may implicate
   24 additional third-party discovery from the individuals or companies associated with
   25 the reference, as well as the need for additional expert discovery and analysis.
   26         Given that MMR has already voluntarily limited the asserted claims from the
   27 outset of this litigation, Defendants should also limit the number of asserted prior art
   28 references. In this way, both sides share the responsibility of ensuring case

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    1 manageability, while at the same time reducing prejudice to the other side, as well as
    2 burden on the Court, the parties, and ultimately the jury.
    3 V.     CONCLUSION
    4        For the reasons set forth above, the Court should require Defendants to limit
    5 their prior art references to a reasonable number, not exceeding twelve references
    6 total before Markman and six references total after Markman.
    7
    8 Dated: May 20, 2014                   LINER LLP
    9
   10
                                            By:         /s/ Ryan E. Hatch
   11
                                                  Randall J. Sunshine
   12                                             Ryan E. Hatch
   13                                             Attorneys for Plaintiff
                                                  MYMEDICALRECORDS, INC.
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